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 8                        IN THE UNITED STATES DISTRICT COURT

 9                          EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                    1:12-CR-00213-AWI
12                               Plaintiff,       FINAL ORDER OF
                                                  FORFEITURE
13                   v.
14   LUCIA YOLANDA CHAVEZ,
15                               Defendant,
16

17         WHEREAS, on October 5, 2015, this Court entered a Preliminary Order of
18 Forfeiture pursuant to the provisions of 18 U.S.C. §§ 981(a)(1)(A), 981(a)(1)(C),

19 981(a)(1)(D), 982(a)(1), 982(a)(2), 28 U.S.C. § 2461, and Fed. R. Crim. P. 32.2(b)(1),
20 based upon the plea agreement entered into between plaintiff and defendant Lucia
   Yolanda Chavez forfeiting to the United States the following property:
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            1. Approximately $110,419.28 in United States Currency seized from Bank
22             of the Sierra Account Number 1600833280 (Bank of the Sierra Cashier’s
               Check #310062); and
23
            2. A personal forfeiture money judgment in the amount of $1,624,450.00.
24

25         AND WHEREAS, Beginning April 21, 2016, for at least 30 consecutive days, the

26 United States published notice of the Court’s Order of Forfeiture on the official internet

27 government forfeiture site www.forfeiture.gov. Said published notice advised all third

28 parties of their right to petition the Court within sixty (60) days from the first day of
                                                 1
29   Final Order of Forfeiture

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 1 publication of the notice for a hearing to adjudicate the validity of their alleged legal

 2 interest in the forfeited property;

 3          AND WHEREAS, the Court has been advised that no third party has filed a

 4 claim to the subject property and the time for any person or entity to file a claim has

 5 expired.

 6          Accordingly, it is hereby ORDERED and ADJUDGED:

 7                  1. A Final Order of Forfeiture shall be entered forfeiting to the United

 8 States of America all right, title, and interest in the above-listed property pursuant to
 9 18 U.S.C. §§ 981(a)(1)(A), 981(a)(1)(C), 981(a)(1)(D), 982(a)(1), 982(a)(2), 28 U.S.C. §

10 2461, and Fed. R. Crim. P. 32.2(b)(1), to be disposed of according to law, including all

11 right, title, and interest of Lucia Yolanda Chavez.

12                  2. All right, title, and interest in the above-listed property shall vest

13 solely in the name of the United States of America.

14                  3. The Department of Treasury shall maintain custody of and

15 control over the subject property until it is disposed of according to law.

16 IT IS SO ORDERED.

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     Dated: August 8, 2016
18                                            SENIOR DISTRICT JUDGE

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29     Final Order of Forfeiture

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